Case 2:07-md-01873-KDE-MBN Document 14458 Filed 06/22/10 Page 1 of 3 Gio 4 4
Case 2:07-md-01873-KDE-ALC Document 14140 Filed 05/21/10 Page 1 of 2 | D

AO 440 (Rev. 02/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Eastern District of Louisiana
Rubin Filmore )
Plaintify
ve ) Civil Action No. 09-6166
Crum & Forster Specialty Ins. Co.., et al }
)

Defendant
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Federal Emergency Management Agency (FEMA)
through Craig Fugate, Director
500 C Street SW
Washington DC 20472

A lawsuit has been filed against you.

Within 20 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attomey,
whose name and address are: Justin |. Woods

Gainsburgh, Benjamin, David, Meunier & Warshauer, L.L.C.

2800 Energy Centre, 1100 Poydras St.
New Orleans, LA 70163-2800

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Loretta G. Whyte

Name of clerk of court

Date: __ May 21 2010 eB . Yf, Lge f 4 —
Deputy cl signal

Case 2:07-md-01873-KDE-MBN Document 14458 Filed 06/22/10 Page 2 of 3
Case 2:07-md-01873-KDE-ALC Document 14140 Filed 05/21/10 Page 2 of 2
AO 440 (Rev. 02/09) Summons in a Civil Action (Page 2)

See
Civil Action No. 09-6166

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 hy)

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (lace)

on (date) 3 or

© I left the summons at the individual’s residence or usual place of abode with (name)

, 8 person of suitable age and discretion who resides there,
On (date) , and mailed a copy to the individual’s last known address; or

© I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organtzation)

on (date) > or

© {returned the summons unexecuted because : or

O Other (specif):

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 2:07-md
: -01873-KDE-
MBN Document 14458 Filed 06/22/10
Page 3 of 3

Unitep S
ATES PosTAL SERVICE | |
First-Class Mai
Pos Mail
epee nes Pal

* Sender: Ple
: ase pri
print your name, address, and ZIP+4
; +4 in this box *

Justin I. Woods, Esq.

Gainsburgh,
ra eee David, Meunier & W
oydras Street, Suite 2800 nee me,

N
ew Orleans, Louisiana 70163

Formaldehyde:

09-6166, Rubin Filmore

il i ]
1 hil hia 4 NH vill
Vhaaa hi vbhyt Thaiht J Wha i aistiyriba

fete ia Matt Wiel) er fee fo) aM ane

cADS REGENINGS

C. Date of Delivery

aye) an pales apa) is Rennie)

= Complete items 3. Fee complete
iter 4 If Se od Ry is desired.
w Print your name and a address on nite reverse

so inet we can return the card to you
is card tothe back oe the mailpiece;

Attach th

or on the ‘front if space perm!
4. Article Addressed to:
Federal Emergency Management Agency
through the Office of the Director

Craig, Fugate, Director

500 C Street SW.

Washington, pc 20472

B. Received by (Printed Name)

D. Is delivery address diffe
If YES, enter delivery adress below:

3. Service Type
CO Certified Mail (CO Express Mail
CO Registered 1 Retum
CO Insured Mail 0 c.0.D.

2 A trom envio 1b) ange 1830 000% 4ua7 24se
2004 Domestic Return Recelpt 402595-02-M-1540

ps Form 381 4, February

